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&lt;div id="pf1" data-page-no="1"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;23CA1970 Innis v Innis 10-03-2024 &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;COLORADO COURT OF APPEALS &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Court of Appeals No. 23CA1970 &lt;/div&gt;
&lt;div&gt;Mesa County District Court No. 20CV30309 &lt;/div&gt;
&lt;div&gt;Honorable Valerie J. Robison, Judge &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Norma J. Innis and Richard L. Innis, &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Plaintiffs-Appellees, &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;v. &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Dain D. Innis and Lynnette Y. Innis, &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Defendants-Appellants. &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;JUDGMENT AFFIRMED&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Division II &lt;/div&gt;
&lt;div&gt;Opinion by JUDGE &lt;span&gt;JOHNSON&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Fox &lt;span&gt;and Schock, JJ., concur &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;NOT PUBLISHED PURSUANT TO C.A.R. 35(e) &lt;/div&gt;
&lt;div&gt;Announced October 3, 2024 &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Brett R. Lilly, &lt;span&gt;LLC, &lt;/span&gt;Brett &lt;span&gt;R. Lilly&lt;/span&gt;, &lt;span&gt;Wheat Ridge&lt;/span&gt;, Colorado, for Plaintiffs-Appellees &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Wegener Lane &lt;span&gt;&amp;amp; &lt;/span&gt;&lt;span&gt;Evans&lt;/span&gt;&lt;span&gt;, P.C., Benjamin M. Wegener, Dalen B. Porter, Grand &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Junction, Colorado, for Defendant&lt;span&gt;s-Appellants &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MM9/Zgu/MM9ZguMTW/pwsU7Hj38Z0aT83wGmUtrM/47S7PRRijEBs%3D?AWSAccessKeyId=ASIA5PHC3MTPWN2ZWLIB&amp;amp;Expires=1728896673&amp;amp;Signature=PENMVgRE7q2MZXsFtegsyekEDYQ%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjEHgaCXVzLWVhc3QtMSJIMEYCIQC0HysYMqVSp0RxjVi5ZjwDKFM0lZQ%2Ffp5NZA7mcrZ6rwIhAJAoblD5DfZrNuvKfgRoGdoXnpSgLKfaPST1WvSm1zWBKrsFCNH%2F%2F%2F%2F%2F%2F%2F%2F%2F%2FwEQABoMOTI2MDQxMjAzOTM1IgxSmkI1IcdxYK36gPoqjwUsYRQfXX15mWKSynD8aTTWPkjVcGMlgSA%2BWTiojncmagp3B5QxIA2pe3%2Bwl09dLqiHpdm0V1aJHc%2BbJEVFpJCkCEbEXcj5gk8WWyl1nQrPa%2BhkQbGSv3telxMNvvv1MOnmNj%2BmpThotS8HKHyT%2FPt1RtIhWwTsn2tCeSiHPTrUqcCA%2F%2Fm0BaydboZ3U3z7cZjot5VjiRR3oHKwMM854wTsztXz15bf2CEPirqmSR2v%2Bswrcv9jRJJFDzBdVQgyyz3u4P0qNaemLy75l76LzHacslP0QqMMbqCtz%2BENpdAkfb84bk4Ov0jfY%2FGwCFzs5gubj3JEkTlyWCZWPVwjFwkb6%2Fx0J6G1iBi76hBUgW7Q%2FXBBXgnr4Lretr7O7Q8930O4IeYAEv3Q1cRFLAUxQBeUhaOJ8wwJoBREV2iuVQbwEcuewB7vf2uarAy3f53nhnFhRar9nnwLnYmWgh6ciiyUxTuCYA4Qrkllutzz5N0%2B%2BSeaEn9TOn%2BpAlcIicVdxHeXhBAbRp2pyvD5%2FFdpIyKZHY4%2FTUYMmrJB2P4rFCQ1KeVR7OjWbDmaiHBCyNEaua%2FdeIzJGBljCEoy8ejQJBUpMyr6WJIrpQA2f0PBOpaTCS5x%2FYLm0eaeBIADQy1vBWzO613jf31VMUyKF6Avu7AUij%2FbvZeFSBn593Jhdyn0a0A1yoFqDh0vu1cGkaC8R4mn8VUZL0tU2rdnrKzMvN9jc80%2FK1tL7IPkOT%2B60cFWVkXRBEwloG9ZqOmJwd5VzV6fGWP7nEI8s%2BjzEIYwfhleuCFbOPxqINWicYx71A4HYMAIfoJuG1EyP5Kr3u9jhnG9tNW4zUNBVO%2Bx2a7G8A8pHem%2BNZ%2BTjcJyhxKyz9KnMJGYs7gGOrABODFQ2UIlKMS1tmwrPKg45d8JeaSxC%2FWcGwdoUD0SK5zAQhlHDV%2FfZ%2FLMJk3DDQUYswz22iJOm5D%2BgJCTEFzqDcbSx5%2FTDLiMPYgaF9JBW%2B1aWT0xrdSkh1fc1By1oDva3Kq606oATm4UmZrf5Mpg%2B1MdYi44T5MU1IC9Blcs3XBCmJrxXhqBjofOftJCR102W04Rb1DoD53HeD0XtgdrXVBCKDWT%2FmPOGZblwZnIEqk%3D"&gt;&lt;div&gt;
&lt;div&gt;1 &lt;/div&gt;
&lt;div&gt;Â¶ 1&lt;span&gt; &lt;/span&gt;&lt;span&gt;Defendants, Dain D. Innis (Dain) and Lynette Y. Innis (Lynn),&lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;1&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;appeal the district court&lt;span&gt;âs &lt;/span&gt;judgment concluding that plaintiff Norma &lt;/div&gt;
&lt;div&gt;J. Innis (Norma) did not convey water rights to Dain&lt;span&gt;âs sole &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;ownership.  We affirm. &lt;/div&gt;
&lt;div&gt;I.&lt;span&gt; &lt;span&gt;Background &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 2&lt;span&gt; &lt;/span&gt;&lt;span&gt;Norma and her husband, Richard L. Innis (Richard), own&lt;span&gt;ed&lt;/span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;several adjacent properties in Grand Junction: 2108 Dese&lt;span&gt;&lt;/span&gt;rt Hills &lt;/div&gt;
&lt;div&gt;Road (2108 property), 2110 1/2 Desert Hills Road (2110 1/2 &lt;/div&gt;
&lt;div&gt;property), and 2112 Desert Hills Road (2112 property).  Norma and &lt;/div&gt;
&lt;div&gt;Richard live at the 2108 property&lt;span&gt;.  &lt;/span&gt;Dawn Maiella (Dawn), Norma &lt;/div&gt;
&lt;div&gt;and Richardâs daughter and Dainâs sister, lives at &lt;span&gt;the 2112 &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;property&lt;span&gt;.  &lt;span&gt;In 1989, the three properties were placed into the Innis &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Land Trust (trust)&lt;span&gt;.  &lt;/span&gt;At the creation of the trust, no Innis family &lt;/div&gt;
&lt;div&gt;member held an interest in 2110 Desert Hills Road (2110 propert&lt;span&gt;y)&lt;/span&gt;&lt;span&gt;, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the property at issue in the action. &lt;/div&gt;
&lt;div&gt;Â¶ 3&lt;span&gt; &lt;/span&gt;&lt;span&gt;The 2110 property parcel includes portions of two bodies of &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;water.  The parties refer to the bigger body of water as Barr&lt;span&gt;&lt;/span&gt;ett Pond &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;1&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; Because many of the parties share the same last name, we &lt;span&gt;&lt;/span&gt;will &lt;/div&gt;
&lt;div&gt;refer to individuals by their first names.  No disrespect is intended. &lt;/div&gt;
&lt;/div&gt;
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&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MMX/n%2Be/MMXn%2BekQ817y/lXyeovZwcgeMWibwHo7dUSO3Lu0a7r74%3D?AWSAccessKeyId=ASIA5PHC3MTPWN2ZWLIB&amp;amp;Expires=1728896673&amp;amp;Signature=wWceo4lL3bKWa8G%2F7cFI8Gosdro%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjEHgaCXVzLWVhc3QtMSJIMEYCIQC0HysYMqVSp0RxjVi5ZjwDKFM0lZQ%2Ffp5NZA7mcrZ6rwIhAJAoblD5DfZrNuvKfgRoGdoXnpSgLKfaPST1WvSm1zWBKrsFCNH%2F%2F%2F%2F%2F%2F%2F%2F%2F%2FwEQABoMOTI2MDQxMjAzOTM1IgxSmkI1IcdxYK36gPoqjwUsYRQfXX15mWKSynD8aTTWPkjVcGMlgSA%2BWTiojncmagp3B5QxIA2pe3%2Bwl09dLqiHpdm0V1aJHc%2BbJEVFpJCkCEbEXcj5gk8WWyl1nQrPa%2BhkQbGSv3telxMNvvv1MOnmNj%2BmpThotS8HKHyT%2FPt1RtIhWwTsn2tCeSiHPTrUqcCA%2F%2Fm0BaydboZ3U3z7cZjot5VjiRR3oHKwMM854wTsztXz15bf2CEPirqmSR2v%2Bswrcv9jRJJFDzBdVQgyyz3u4P0qNaemLy75l76LzHacslP0QqMMbqCtz%2BENpdAkfb84bk4Ov0jfY%2FGwCFzs5gubj3JEkTlyWCZWPVwjFwkb6%2Fx0J6G1iBi76hBUgW7Q%2FXBBXgnr4Lretr7O7Q8930O4IeYAEv3Q1cRFLAUxQBeUhaOJ8wwJoBREV2iuVQbwEcuewB7vf2uarAy3f53nhnFhRar9nnwLnYmWgh6ciiyUxTuCYA4Qrkllutzz5N0%2B%2BSeaEn9TOn%2BpAlcIicVdxHeXhBAbRp2pyvD5%2FFdpIyKZHY4%2FTUYMmrJB2P4rFCQ1KeVR7OjWbDmaiHBCyNEaua%2FdeIzJGBljCEoy8ejQJBUpMyr6WJIrpQA2f0PBOpaTCS5x%2FYLm0eaeBIADQy1vBWzO613jf31VMUyKF6Avu7AUij%2FbvZeFSBn593Jhdyn0a0A1yoFqDh0vu1cGkaC8R4mn8VUZL0tU2rdnrKzMvN9jc80%2FK1tL7IPkOT%2B60cFWVkXRBEwloG9ZqOmJwd5VzV6fGWP7nEI8s%2BjzEIYwfhleuCFbOPxqINWicYx71A4HYMAIfoJuG1EyP5Kr3u9jhnG9tNW4zUNBVO%2Bx2a7G8A8pHem%2BNZ%2BTjcJyhxKyz9KnMJGYs7gGOrABODFQ2UIlKMS1tmwrPKg45d8JeaSxC%2FWcGwdoUD0SK5zAQhlHDV%2FfZ%2FLMJk3DDQUYswz22iJOm5D%2BgJCTEFzqDcbSx5%2FTDLiMPYgaF9JBW%2B1aWT0xrdSkh1fc1By1oDva3Kq606oATm4UmZrf5Mpg%2B1MdYi44T5MU1IC9Blcs3XBCmJrxXhqBjofOftJCR102W04Rb1DoD53HeD0XtgdrXVBCKDWT%2FmPOGZblwZnIEqk%3D"&gt;&lt;div&gt;
&lt;div&gt;2 &lt;/div&gt;
&lt;div&gt;(and sometimes the âlakeâ) and the smaller body of water &lt;span&gt;as&lt;/span&gt;&lt;span&gt; Barrett &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Ditch.&lt;span&gt;  &lt;span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 4&lt;span&gt; &lt;/span&gt;&lt;span&gt;In 1990, Dain moved to Grand Junction and lived wi&lt;span&gt;&lt;/span&gt;th Norma &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;and Richard.  Dain eventually moved into a mobile home placed on &lt;/div&gt;
&lt;div&gt;the 2110 1/2 property.  Norma and Richard intended that the 2110 &lt;/div&gt;
&lt;div&gt;1/2 property and the 2112 property be given to Dawn &lt;span&gt;&lt;/span&gt;and Dain, &lt;/div&gt;
&lt;div&gt;respectively, as their shares of the trust.&lt;span&gt;  &lt;/span&gt;The map below, which &lt;/div&gt;
&lt;div&gt;was admitted as an exhibit at trial, depicts the four properties &lt;/div&gt;
&lt;div&gt;discussed in this opinion.&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;2&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;2&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; The map is an aerial view of the four properties discussed in this &lt;/div&gt;
&lt;div&gt;opinion &lt;span&gt;taken from plaintiffâs &lt;/span&gt;Exhibit &lt;span&gt;20&lt;/span&gt;&lt;span&gt;.&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;The image includes the &lt;/div&gt;
&lt;div&gt;properties from top to bottom: 2108, 2110, 2110 1/2, and 2112. &lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;There are yellow lines depicting the boundaries of the four &lt;/div&gt;
&lt;div&gt;properties.  The 2110 1/2 property does not have a number labeling&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;it.  The properties adjacent to the numbered properti&lt;span&gt;&lt;/span&gt;es are not a &lt;/div&gt;
&lt;div&gt;part of this matter.  &lt;/div&gt;
&lt;/div&gt;
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&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MMA/tJf/MMAtJfOBU8Q562GVAKqGCiAuAwG0OZhO4CmGMUzMTeYG8%3D?AWSAccessKeyId=ASIA5PHC3MTPWN2ZWLIB&amp;amp;Expires=1728896673&amp;amp;Signature=ljICgNgi7BKT0h6ps6DRr%2FZ%2Fr1Q%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjEHgaCXVzLWVhc3QtMSJIMEYCIQC0HysYMqVSp0RxjVi5ZjwDKFM0lZQ%2Ffp5NZA7mcrZ6rwIhAJAoblD5DfZrNuvKfgRoGdoXnpSgLKfaPST1WvSm1zWBKrsFCNH%2F%2F%2F%2F%2F%2F%2F%2F%2F%2FwEQABoMOTI2MDQxMjAzOTM1IgxSmkI1IcdxYK36gPoqjwUsYRQfXX15mWKSynD8aTTWPkjVcGMlgSA%2BWTiojncmagp3B5QxIA2pe3%2Bwl09dLqiHpdm0V1aJHc%2BbJEVFpJCkCEbEXcj5gk8WWyl1nQrPa%2BhkQbGSv3telxMNvvv1MOnmNj%2BmpThotS8HKHyT%2FPt1RtIhWwTsn2tCeSiHPTrUqcCA%2F%2Fm0BaydboZ3U3z7cZjot5VjiRR3oHKwMM854wTsztXz15bf2CEPirqmSR2v%2Bswrcv9jRJJFDzBdVQgyyz3u4P0qNaemLy75l76LzHacslP0QqMMbqCtz%2BENpdAkfb84bk4Ov0jfY%2FGwCFzs5gubj3JEkTlyWCZWPVwjFwkb6%2Fx0J6G1iBi76hBUgW7Q%2FXBBXgnr4Lretr7O7Q8930O4IeYAEv3Q1cRFLAUxQBeUhaOJ8wwJoBREV2iuVQbwEcuewB7vf2uarAy3f53nhnFhRar9nnwLnYmWgh6ciiyUxTuCYA4Qrkllutzz5N0%2B%2BSeaEn9TOn%2BpAlcIicVdxHeXhBAbRp2pyvD5%2FFdpIyKZHY4%2FTUYMmrJB2P4rFCQ1KeVR7OjWbDmaiHBCyNEaua%2FdeIzJGBljCEoy8ejQJBUpMyr6WJIrpQA2f0PBOpaTCS5x%2FYLm0eaeBIADQy1vBWzO613jf31VMUyKF6Avu7AUij%2FbvZeFSBn593Jhdyn0a0A1yoFqDh0vu1cGkaC8R4mn8VUZL0tU2rdnrKzMvN9jc80%2FK1tL7IPkOT%2B60cFWVkXRBEwloG9ZqOmJwd5VzV6fGWP7nEI8s%2BjzEIYwfhleuCFbOPxqINWicYx71A4HYMAIfoJuG1EyP5Kr3u9jhnG9tNW4zUNBVO%2Bx2a7G8A8pHem%2BNZ%2BTjcJyhxKyz9KnMJGYs7gGOrABODFQ2UIlKMS1tmwrPKg45d8JeaSxC%2FWcGwdoUD0SK5zAQhlHDV%2FfZ%2FLMJk3DDQUYswz22iJOm5D%2BgJCTEFzqDcbSx5%2FTDLiMPYgaF9JBW%2B1aWT0xrdSkh1fc1By1oDva3Kq606oATm4UmZrf5Mpg%2B1MdYi44T5MU1IC9Blcs3XBCmJrxXhqBjofOftJCR102W04Rb1DoD53HeD0XtgdrXVBCKDWT%2FmPOGZblwZnIEqk%3D"&gt;&lt;div&gt;
&lt;div&gt;3 &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 5&lt;span&gt; &lt;/span&gt;&lt;span&gt;In 1993, Juel Noren (Noren) and his spouse purchased the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;2110 property.  Norma and Richard became close with &lt;span&gt;&lt;/span&gt;the Norens, &lt;/div&gt;
&lt;div&gt;and the four discussed &lt;span&gt;Norma and Richardâs &lt;/span&gt;acquisition of &lt;span&gt;th&lt;span&gt;at&lt;/span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;property to place in the trust corpus.  In 2003, an agreement and &lt;/div&gt;
&lt;div&gt;promissory note were drafted&lt;span&gt;; &lt;/span&gt;the agreement was signed by Dain &lt;/div&gt;
&lt;div&gt;and Norma and the promissory note was signed by Dain, Norma, &lt;/div&gt;
&lt;div&gt;and Richard&lt;span&gt;.  &lt;/span&gt;Noren did not sign the agreement, so the 2110 &lt;/div&gt;
&lt;/div&gt;
&lt;/div&gt;
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&lt;div id="pf5" data-page-no="5"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;4 &lt;/div&gt;
&lt;div&gt;property did not transfer at &lt;span&gt;th&lt;span&gt;at&lt;/span&gt;&lt;/span&gt; time; Noren intended to devise the &lt;/div&gt;
&lt;div&gt;2110 property to the Innises upon his death&lt;span&gt;.  &lt;/span&gt;&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 6&lt;span&gt; &lt;/span&gt;&lt;span&gt;In February 2005, however, Noren executed a warranty deed &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;conveying the property &lt;span&gt;in&lt;/span&gt; joint tenancy &lt;span&gt;to&lt;/span&gt; himself&lt;span&gt;, &lt;/span&gt;Norma, and &lt;/div&gt;
&lt;div&gt;Dain.  &lt;span&gt;Following Norenâs death, a relative of Norenâs unsuccessfully &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;challenged Norenâ&lt;span&gt;s conveyance of the 2110 property to Dain and &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Norma.  After the lawsuit, Dain and his wife, &lt;span&gt;Lynn&lt;/span&gt;, began living on &lt;/div&gt;
&lt;div&gt;the property.   &lt;/div&gt;
&lt;div&gt;Â¶ 7&lt;span&gt; &lt;/span&gt;&lt;span&gt;In 2014, a fire caused extensive damage to the 2110 property&lt;span&gt;.  &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;The property was covered by a homeownerâs insurance policy.  &lt;/div&gt;
&lt;div&gt;Insurance payouts were made to Dain and Norma, as joint tenant&lt;span&gt;&lt;/span&gt;s, &lt;/div&gt;
&lt;div&gt;and were received in the mail via check.  The insurance p&lt;span&gt;&lt;/span&gt;roceeds &lt;/div&gt;
&lt;div&gt;were used to build a new home.  To facilitate electronic delivery of &lt;/div&gt;
&lt;div&gt;the insurance proceeds, Dain added Norma to his bank account.&lt;span&gt;  &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 8&lt;span&gt; &lt;/span&gt;&lt;span&gt;The insurance proceeds did not cover the entire rebuilding &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;cost.  Norma was unwilling to cosign a loan, &lt;span&gt;but&lt;/span&gt; she agre&lt;span&gt;&lt;/span&gt;ed to sign &lt;/div&gt;
&lt;div&gt;a quitclaim deed so that the 2110 property would be solely &lt;span&gt;in Dainâs &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;name and could be used as collateral&lt;span&gt;.  &lt;/span&gt;  &lt;/div&gt;
&lt;div&gt;Â¶ 9&lt;span&gt; &lt;/span&gt;&lt;span&gt;At the bench trial, Richard and Norma testified that they made &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;it&lt;span&gt; clear to Dain that the 2110 property was to be restored to the &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf6" data-page-no="6"&gt;
&lt;div&gt;
&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MMX/n%2Be/MMXn%2BekQ817y/lXyeovZwcgeMWibwHo7dUSO3Lu0a7r74%3D?AWSAccessKeyId=ASIA5PHC3MTPWN2ZWLIB&amp;amp;Expires=1728896673&amp;amp;Signature=wWceo4lL3bKWa8G%2F7cFI8Gosdro%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjEHgaCXVzLWVhc3QtMSJIMEYCIQC0HysYMqVSp0RxjVi5ZjwDKFM0lZQ%2Ffp5NZA7mcrZ6rwIhAJAoblD5DfZrNuvKfgRoGdoXnpSgLKfaPST1WvSm1zWBKrsFCNH%2F%2F%2F%2F%2F%2F%2F%2F%2F%2FwEQABoMOTI2MDQxMjAzOTM1IgxSmkI1IcdxYK36gPoqjwUsYRQfXX15mWKSynD8aTTWPkjVcGMlgSA%2BWTiojncmagp3B5QxIA2pe3%2Bwl09dLqiHpdm0V1aJHc%2BbJEVFpJCkCEbEXcj5gk8WWyl1nQrPa%2BhkQbGSv3telxMNvvv1MOnmNj%2BmpThotS8HKHyT%2FPt1RtIhWwTsn2tCeSiHPTrUqcCA%2F%2Fm0BaydboZ3U3z7cZjot5VjiRR3oHKwMM854wTsztXz15bf2CEPirqmSR2v%2Bswrcv9jRJJFDzBdVQgyyz3u4P0qNaemLy75l76LzHacslP0QqMMbqCtz%2BENpdAkfb84bk4Ov0jfY%2FGwCFzs5gubj3JEkTlyWCZWPVwjFwkb6%2Fx0J6G1iBi76hBUgW7Q%2FXBBXgnr4Lretr7O7Q8930O4IeYAEv3Q1cRFLAUxQBeUhaOJ8wwJoBREV2iuVQbwEcuewB7vf2uarAy3f53nhnFhRar9nnwLnYmWgh6ciiyUxTuCYA4Qrkllutzz5N0%2B%2BSeaEn9TOn%2BpAlcIicVdxHeXhBAbRp2pyvD5%2FFdpIyKZHY4%2FTUYMmrJB2P4rFCQ1KeVR7OjWbDmaiHBCyNEaua%2FdeIzJGBljCEoy8ejQJBUpMyr6WJIrpQA2f0PBOpaTCS5x%2FYLm0eaeBIADQy1vBWzO613jf31VMUyKF6Avu7AUij%2FbvZeFSBn593Jhdyn0a0A1yoFqDh0vu1cGkaC8R4mn8VUZL0tU2rdnrKzMvN9jc80%2FK1tL7IPkOT%2B60cFWVkXRBEwloG9ZqOmJwd5VzV6fGWP7nEI8s%2BjzEIYwfhleuCFbOPxqINWicYx71A4HYMAIfoJuG1EyP5Kr3u9jhnG9tNW4zUNBVO%2Bx2a7G8A8pHem%2BNZ%2BTjcJyhxKyz9KnMJGYs7gGOrABODFQ2UIlKMS1tmwrPKg45d8JeaSxC%2FWcGwdoUD0SK5zAQhlHDV%2FfZ%2FLMJk3DDQUYswz22iJOm5D%2BgJCTEFzqDcbSx5%2FTDLiMPYgaF9JBW%2B1aWT0xrdSkh1fc1By1oDva3Kq606oATm4UmZrf5Mpg%2B1MdYi44T5MU1IC9Blcs3XBCmJrxXhqBjofOftJCR102W04Rb1DoD53HeD0XtgdrXVBCKDWT%2FmPOGZblwZnIEqk%3D"&gt;&lt;div&gt;
&lt;div&gt;5 &lt;/div&gt;
&lt;div&gt;joint tenancy with Norma once he completed the project so t&lt;span&gt;&lt;/span&gt;hat the &lt;/div&gt;
&lt;div&gt;property could be added to the trust&lt;span&gt;.  &lt;/span&gt;Dain testified, though, that it &lt;/div&gt;
&lt;div&gt;was always his intent to obtain a mortgage with Lynn and never &lt;/div&gt;
&lt;div&gt;return the property to the joint tenancy with Norma.    &lt;/div&gt;
&lt;div&gt;Â¶ 10&lt;span&gt; &lt;/span&gt;&lt;span&gt;Norma signed the quitclaim deed on February 18, 2016.  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Norma did not receive consideration for this conveyance&lt;span&gt;.  &lt;/span&gt;On &lt;/div&gt;
&lt;div&gt;February 23, 2016, Dain signed the quitclaim deed, so the property &lt;/div&gt;
&lt;div&gt;was solely in his name.  On th&lt;span&gt;at&lt;/span&gt; same day, Dain conveyed the &lt;/div&gt;
&lt;div&gt;property as a joint tenancy with Lynn.  On March 4, 2016, Dain &lt;/div&gt;
&lt;div&gt;and Lynn acquired a mortgage on the 2110 property.&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;3&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 11&lt;span&gt; &lt;/span&gt;&lt;span&gt;Over the next several years after the conveyance&lt;span&gt;, &lt;/span&gt;&lt;span&gt;Dain&lt;/span&gt;&lt;span&gt;âs &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;relationship with his parents significantly deteriorated.   &lt;/div&gt;
&lt;div&gt;Â¶ 12&lt;span&gt; &lt;/span&gt;&lt;span&gt;Norma eventually filed a complaint to restore her as a joint &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;tenant &lt;span&gt;of&lt;/span&gt;, and to remove Lynn from the title &lt;span&gt;on&lt;/span&gt;, t&lt;span&gt;&lt;/span&gt;he 2110 property.  &lt;/div&gt;
&lt;div&gt;Norma asserted six claims against Dain and Lynn, including unj&lt;span&gt;&lt;/span&gt;ust &lt;/div&gt;
&lt;div&gt;enrichment&lt;span&gt;, &lt;span&gt;promissory estoppel&lt;/span&gt;, &lt;span&gt;breach of contract&lt;/span&gt;, &lt;span&gt;constructive &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;3&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; Wells Fargo holds the note &lt;span&gt;for Dain and Lynnâs mortgage&lt;/span&gt; with t&lt;span&gt;&lt;/span&gt;he &lt;/div&gt;
&lt;div&gt;2110 property as collateral.  Wells Fargo was origina&lt;span&gt;&lt;/span&gt;lly named in &lt;/div&gt;
&lt;div&gt;the complaint.  All parties entered into a stipulation acknowle&lt;span&gt;&lt;/span&gt;dging &lt;/div&gt;
&lt;div&gt;that Wells Fargo has a first position priority lien encumbered on &lt;span&gt;&lt;/span&gt;the &lt;/div&gt;
&lt;div&gt;property and that, &lt;span&gt;regardless of the quiet title action, Wells Fargoâ&lt;span&gt;&lt;/span&gt;s &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;first position priority lien remains in effect.   &lt;/div&gt;
&lt;/div&gt;
&lt;a href="#pf6" data-dest-detail='[6,"XYZ",69,170,null]'&gt;&lt;div style="border-style:none;position:absolute;left:552.460000px;bottom:500.032778px;width:10.080000px;height:32.870000px;background-color:rgba(255,255,255,0.000001);"&gt;&lt;/div&gt;&lt;/a&gt;
&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf7" data-page-no="7"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;6 &lt;/div&gt;
&lt;div&gt;trust&lt;span&gt;, &lt;span&gt;fraudulent inducement, and quiet title as to water rights&lt;/span&gt;.  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Dain and Lynn counterclaimed, naming Richard as a third-party &lt;/div&gt;
&lt;div&gt;defendant and asserting four claims including quiet tit&lt;span&gt;le&lt;/span&gt;, &lt;/div&gt;
&lt;div&gt;declaratory judgment, breach of contract, and conversion.  At som&lt;span&gt;&lt;/span&gt;e &lt;/div&gt;
&lt;div&gt;point after Norma&lt;span&gt;âs&lt;/span&gt; complaint was filed, Dain broke int&lt;span&gt;&lt;/span&gt;o his &lt;/div&gt;
&lt;div&gt;parentsâ&lt;span&gt; home and stole &lt;span&gt;most of Normaâs records&lt;/span&gt; relating to the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;2110 property.  The records were later provided to Norma and &lt;/div&gt;
&lt;div&gt;Richard as part of the discovery process.   &lt;/div&gt;
&lt;div&gt;Â¶ 13&lt;span&gt; &lt;/span&gt;&lt;span&gt;After a four-day bench trial, the district court issued a detaile&lt;span&gt;&lt;/span&gt;d &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;order on November 22, 2022 (November 2022 order).&lt;span&gt;  &lt;/span&gt;The district &lt;/div&gt;
&lt;div&gt;court found that the deed conveying the 2110 property to Dain was &lt;/div&gt;
&lt;div&gt;a valid transfer, &lt;span&gt;so&lt;/span&gt; &lt;span&gt;Normaâs &lt;/span&gt;claims for breach of contract, &lt;/div&gt;
&lt;div&gt;constructive trust, promissory estoppel, and fraudulent inducement &lt;/div&gt;
&lt;div&gt;failed.  The court, however, found that Dain was unjustly enriched &lt;/div&gt;
&lt;div&gt;by keeping the property solely in his name because Norma signe&lt;span&gt;&lt;/span&gt;d &lt;/div&gt;
&lt;div&gt;the quitclaim deed for no consideration.  The court entered a &lt;/div&gt;
&lt;div&gt;judgment in favor of Norma for $240,390 for her share of the &lt;/div&gt;
&lt;div&gt;property as a former joint tenant.    &lt;/div&gt;
&lt;div&gt;Â¶ 14&lt;span&gt; &lt;/span&gt;&lt;span&gt;As pertinent to this appeal, the district court also found that &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the water rights to the 2110 property were not transferred by &lt;span&gt;&lt;/span&gt;the &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf8" data-page-no="8"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;7 &lt;/div&gt;
&lt;div&gt;2016 quitclaim deed signed by Norma and that such rights &lt;/div&gt;
&lt;div&gt;remained held in joint tenancy by Dain and Norma.   &lt;/div&gt;
&lt;div&gt;Â¶ 15&lt;span&gt; &lt;/span&gt;&lt;span&gt;The court stated that the warranty deed from Noren conveying &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the property to Dain and Norma included language that conveyed &lt;/div&gt;
&lt;div&gt;âall water, water rights, ditches and ditch rights &lt;span&gt;appurtenant &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;thereto&lt;span&gt;,â but the &lt;span&gt;2016 quitclaim deed from Norma to Dain did not &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;include this language.  &lt;span&gt;The court determined that Normaâs &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;conveyance was intended to be a short-term transfer so Dain c&lt;span&gt;&lt;/span&gt;ould &lt;/div&gt;
&lt;div&gt;obtain a loan&lt;span&gt;, &lt;/span&gt;that the parties did not discuss water rights when the &lt;/div&gt;
&lt;div&gt;conveyance occurred, and that there was insufficient evidence &lt;/div&gt;
&lt;div&gt;presented &lt;span&gt;of&lt;/span&gt; &lt;span&gt;an&lt;/span&gt;y intent to convey water rights&lt;span&gt;.  &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 16&lt;span&gt; &lt;/span&gt;&lt;span&gt;On appeal, Dain and Lynn contend that the district court&lt;span&gt;&lt;/span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;erred &lt;span&gt;by&lt;/span&gt; (1) holding that water rights related to the 2110 propert&lt;span&gt;&lt;/span&gt;y &lt;/div&gt;
&lt;div&gt;did not transfer solely to Dain on February 23, 2016; (2) failing t&lt;span&gt;&lt;/span&gt;o &lt;/div&gt;
&lt;div&gt;determine that the water rights were incidental and necessary t&lt;span&gt;&lt;/span&gt;o &lt;/div&gt;
&lt;div&gt;the 2110 property; and (3) infringing &lt;span&gt;on Lynnâs rights&lt;/span&gt; by quieting &lt;/div&gt;
&lt;div&gt;title of the water rights to Dain and Norma as joint tenants.  &lt;/div&gt;
&lt;div&gt;II.&lt;span&gt; &lt;span&gt;Jurisdiction &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 17&lt;span&gt; &lt;/span&gt;&lt;span&gt;In&lt;span&gt;i&lt;span&gt;ti&lt;/span&gt;&lt;span&gt;ally, Dain and Lynn filed a notice of appeal seeking review &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;of the district court&lt;span&gt;â&lt;/span&gt;s November 2022 order.  Norma and Richard &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf9" data-page-no="9"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;8 &lt;/div&gt;
&lt;div&gt;filed a cross-appeal.  The appeal and cross-appeal were dismissed &lt;/div&gt;
&lt;div&gt;by this court without prejudice because we lacked a final &lt;/div&gt;
&lt;div&gt;appealable order.   &lt;/div&gt;
&lt;div&gt;Â¶ 18&lt;span&gt; &lt;/span&gt;&lt;span&gt;In February 2023&lt;span&gt;, &lt;/span&gt;Norma and Richard then filed motions in &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the district court requesting that the court issue (1) a decree &lt;/div&gt;
&lt;div&gt;quieting title to all water rights related to the 2110 property &lt;span&gt;&lt;/span&gt;to Dain &lt;/div&gt;
&lt;div&gt;and Norma as joint tenants; (2) an order on their bill &lt;span&gt;&lt;/span&gt;of costs; and &lt;/div&gt;
&lt;div&gt;(3) an order determining prejudgment interest owed to Norm&lt;span&gt;&lt;/span&gt;a for &lt;/div&gt;
&lt;div&gt;her judgment of $240,390 entered as part of the November &lt;span&gt;&lt;/span&gt;22 &lt;/div&gt;
&lt;div&gt;order&lt;span&gt;.  &lt;span&gt;After briefing on the motions, the district court issued on &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;September 27, 2023: (1) a decree quieting title t&lt;span&gt;&lt;/span&gt;o the water rights &lt;/div&gt;
&lt;div&gt;related to the 2110 property; (2) an order awarding Norma and &lt;/div&gt;
&lt;div&gt;Richard their costs; and (3) an order awarding Norma $129,665.&lt;span&gt;&lt;/span&gt;71 &lt;/div&gt;
&lt;div&gt;in prejudgment interest (September 2023 orders).&lt;span&gt;  &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 19&lt;span&gt; &lt;/span&gt;&lt;span&gt;Norma and Richard contend that we lack jurisdiction to review &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the courtâs November 2022 order because&lt;span&gt; &lt;/span&gt;Dain and Lynnâs &lt;span&gt;(1) &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;second notice of appeal references only the September 2023 orders &lt;/div&gt;
&lt;div&gt;and (2) second appeal was untimely, as it was filed nearly a year &lt;/div&gt;
&lt;div&gt;after the November 2022 order. &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfa" data-page-no="a"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;9 &lt;/div&gt;
&lt;div&gt;Â¶ 20&lt;span&gt; &lt;/span&gt;&lt;span&gt;We must independently determine our jurisdiction over an &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;appeal.  &lt;span&gt;People v. S.X.G.&lt;/span&gt;, 2012 CO 5, Â¶ 9.&lt;span&gt;  &lt;/span&gt;Subject to exceptions &lt;/div&gt;
&lt;div&gt;inapplicable here, an appeal to this court may be taken only from &lt;span&gt;&lt;/span&gt;a &lt;/div&gt;
&lt;div&gt;final judgment.  Â§ 13-4-102(1), C.R.S. 2024&lt;span&gt;; &lt;/span&gt;&lt;span&gt;see also&lt;/span&gt; C.A.R. 1(a)(1)&lt;span&gt;; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;People v. G.S.&lt;span&gt;, 2018 CO 31, Â¶ 37.&lt;span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 21&lt;span&gt; &lt;/span&gt;&lt;span&gt;To be a final appealable order, a judgment or order must &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;address both liability and damages.  &lt;span&gt;Chavez v. Chavez&lt;/span&gt;, 2020 COA &lt;/div&gt;
&lt;div&gt;70, Â¶ 28.  Because prejudgment interest is a component &lt;span&gt;&lt;/span&gt;of a &lt;/div&gt;
&lt;div&gt;damages award, &lt;span&gt;â&lt;/span&gt;a judgment awarding prejudgment interest is &lt;/div&gt;
&lt;div&gt;not final until the amount of such interest is reduced to a su&lt;span&gt;&lt;/span&gt;m &lt;/div&gt;
&lt;div&gt;certain.â&lt;span&gt;  &lt;span&gt;Stone Grp. Holdings LLC v. Ellison&lt;span&gt;, 2024 COA 10, Â¶ 23 &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;(quoting &lt;span&gt;Grand Cnty. Custom Homebuilding, LLC v. Bell&lt;/span&gt;, 148 P.3d &lt;/div&gt;
&lt;div&gt;398, 401 (Colo. App. 2006)).   &lt;/div&gt;
&lt;div&gt;Â¶ 22&lt;span&gt; &lt;/span&gt;&lt;span&gt;If, however, prejudgment interest can be calculated on the face &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;of the judgment, calculation of the interest is a âministerialâ t&lt;span&gt;&lt;/span&gt;ask, &lt;/div&gt;
&lt;div&gt;rendering the judgment final for purposes of appeal.  &lt;span&gt;Id. &lt;/span&gt;at Â¶Â¶ 25-&lt;/div&gt;
&lt;div&gt;26.&lt;span&gt;  But for prejudgment interest to be reduced &lt;span&gt;&lt;/span&gt;to a sum certain, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the order must include &lt;span&gt;â&lt;/span&gt;(1) the amount of the judgment;&lt;span&gt;&lt;/span&gt; (2) the &lt;/div&gt;
&lt;div&gt;interest rate; and (3) the date on which accrual of prejudgment &lt;/div&gt;
&lt;div&gt;interest begins&lt;span&gt;.â&lt;/span&gt;  &lt;span&gt;Id.&lt;/span&gt; at Â¶ &lt;span&gt;26.&lt;/span&gt; &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfb" data-page-no="b"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;10 &lt;/div&gt;
&lt;div&gt;Â¶ 23&lt;span&gt; &lt;/span&gt;&lt;span&gt;At the time Dain and Lynn filed their first notice of appeal, the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;November 2022 order was not final because, although it set forth &lt;/div&gt;
&lt;div&gt;the judgment amount of $240,390, it did not identify &lt;span&gt;&lt;/span&gt;the interest &lt;/div&gt;
&lt;div&gt;rate or the date prejudgment interest would begin to accrue&lt;span&gt;.  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Therefore, the November &lt;span&gt;20&lt;/span&gt;22 order was not final under the test &lt;span&gt;&lt;/span&gt;in &lt;/div&gt;
&lt;div&gt;Stone Group Holdings&lt;span&gt;, which is why this court dismissed the f&lt;span&gt;&lt;/span&gt;irst &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;appeal &lt;span&gt;for&lt;/span&gt; lack of a final appealable order&lt;span&gt;; the courtâs judgment&lt;/span&gt;&lt;span&gt;, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;however, became final with the September 2023 order that reduced &lt;/div&gt;
&lt;div&gt;the prejudgment interest award to a sum certain; therefore, the &lt;/div&gt;
&lt;div&gt;second notice of appeal was timely filed&lt;span&gt;.  &lt;/span&gt;And because the district &lt;/div&gt;
&lt;div&gt;court incorporated its November 22 order into the Septem&lt;span&gt;&lt;/span&gt;ber 23 &lt;/div&gt;
&lt;div&gt;decree, our review includes the November 2022 and Septem&lt;span&gt;&lt;/span&gt;ber &lt;/div&gt;
&lt;div&gt;2023 orders.&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;III.&lt;span&gt; &lt;span&gt;Standard of Review &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 24&lt;span&gt; &lt;span&gt;âWhen a court enters a judgment following a bench trial, t&lt;span&gt;&lt;/span&gt;hat &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;judgment presents a mixed question of law and fact.â  &lt;span&gt;Stat&lt;span&gt;&lt;/span&gt;e Farm &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Mut. Auto. Ins. Co. v. Johnson&lt;span&gt;, 2017 CO 68, Â¶ 12.&lt;span&gt;  &lt;/span&gt;Under the mixed &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;standard, â&lt;span&gt;[f]indings of fact are generally reviewed under a clea&lt;span&gt;&lt;/span&gt;r &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;error or abuse of discretion standard, whereas concl&lt;span&gt;&lt;/span&gt;usions of law &lt;/div&gt;
&lt;div&gt;are generally reviewed under a de novo standard.â  &lt;span&gt;E-470 Pub. &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfc" data-page-no="c"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;11 &lt;/div&gt;
&lt;div&gt;Highway Auth. v. 455 Co.&lt;span&gt;, 3 P.3d 18, 22 (Colo. 2000).  We may &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;consider the âultimate conclusion as one of fact for purposes &lt;span&gt;&lt;/span&gt;of &lt;/div&gt;
&lt;div&gt;review and apply the clear error standard.â  &lt;span&gt;Id.  &lt;span&gt;In this case, the &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;district court made factual findings intertwined with conclusions of&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;law based on the testimony of the parties.   &lt;/div&gt;
&lt;div&gt;IV.&lt;span&gt; &lt;/span&gt;&lt;span&gt;Analysis &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 25&lt;span&gt; &lt;/span&gt;&lt;span&gt;Dain and Lynn raise three arguments to support that Norma &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;transferred the water rights associated with the 2110 p&lt;span&gt;&lt;/span&gt;roperty to &lt;/div&gt;
&lt;div&gt;Dainâs&lt;span&gt; sole ownership: (1) the express terms of the quitclaim &lt;span&gt;&lt;/span&gt;deed &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;transferred the water rights; (2) the water rights are incident&lt;span&gt;&lt;/span&gt;al and &lt;/div&gt;
&lt;div&gt;necessary to the 2110 property; and (3) the &lt;span&gt;courtâs September 2&lt;span&gt;&lt;/span&gt;023 &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;orders &lt;span&gt;infringe on Lynnâs rights.  We reject all three argument&lt;span&gt;&lt;/span&gt;s.&lt;span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;1.&lt;span&gt; &lt;span&gt; &lt;/span&gt;Express Terms &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 26&lt;span&gt; &lt;/span&gt;&lt;span&gt;Dain and Lynn contend that the water rights were transferred &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;to Dainâs sole ownership based on the 2016 quitclaim deedâ&lt;span&gt;&lt;/span&gt;s&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;express language that conveyed the property and all its &lt;/div&gt;
&lt;div&gt;appurtenant rights.  Dain and Lynn refer to the following clause&lt;span&gt;: &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;TO HAVE AND TO HOLD same unto Grantees, &lt;/div&gt;
&lt;div&gt;together with all and singular the &lt;/div&gt;
&lt;div&gt;appurtenances and privileges thereunto &lt;/div&gt;
&lt;div&gt;belonging or in anywise thereunto &lt;/div&gt;
&lt;div&gt;appertaining, and all the estate, right, title, &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfd" data-page-no="d"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;12 &lt;/div&gt;
&lt;div&gt;interest and claim whatsoever, of the Grantor&lt;span&gt;, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;either in law or equity, to the only proper use, &lt;/div&gt;
&lt;div&gt;benefit and behoof of the grantees&lt;span&gt;, &lt;/span&gt;their heirs &lt;/div&gt;
&lt;div&gt;and assigns forever. &lt;/div&gt;
&lt;div&gt;Thus, Dain and Lynn assert, &lt;span&gt;Norma and Dainâs intent as co&lt;/span&gt;-&lt;/div&gt;
&lt;div&gt;grantors was to convey &lt;span&gt;all âright, title, interest, and claim &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;whatsoeverâ to the 2110 property to the âonly proper useâ and &lt;/div&gt;
&lt;div&gt;benefit of Dain, which included the water rights&lt;span&gt;.  &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 27&lt;span&gt; &lt;/span&gt;&lt;span&gt;In Colorado, water rights are separate from the interests in &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;land.  &lt;span&gt;See Bd. of Cnty. Comm&lt;span&gt;â&lt;/span&gt;rs v. Park Cnty. Sportsmen&lt;span&gt;â&lt;/span&gt;s Ranch, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;LLP&lt;span&gt;, 45 P.3d 693, 707 (Colo. 2002) (â&lt;span&gt;[N]either surface water, &lt;span&gt;&lt;/span&gt;nor &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;ground water, nor the use rights thereto, nor the water-bearing &lt;/div&gt;
&lt;div&gt;capacity of natural formations belong to a landowner as a stic&lt;span&gt;&lt;/span&gt;k in &lt;/div&gt;
&lt;div&gt;the property rights bundle.&lt;span&gt;â); &lt;span&gt;see also&lt;/span&gt;&lt;/span&gt; &lt;span&gt;Travelers Ins. Co. v. Ja&lt;span&gt;&lt;/span&gt;nitell &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Farms, Inc.&lt;span&gt;, 609 P.2d 1116, 1117 (Colo. App. 1980) (&lt;span&gt;&lt;/span&gt;â&lt;span&gt;[A] water right &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;is a property right separate and apart from the land on which it&lt;span&gt;&lt;/span&gt; is &lt;/div&gt;
&lt;div&gt;used . . . .  The land for which it was appropriated or on wh&lt;span&gt;&lt;/span&gt;ich it &lt;/div&gt;
&lt;div&gt;has been used may be conveyed or held without the water, and the &lt;/div&gt;
&lt;div&gt;water may be conveyed or held without the land.â (quoting &lt;span&gt;Nielson &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;v. Newmyer&lt;span&gt;, 228 P.2d 456, 458 (Colo. 1951))).&lt;span&gt;  &lt;/span&gt;&lt;span&gt;Thus, â&lt;/span&gt;[o]nce &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;acquired, water rights may be transferred separately from t&lt;span&gt;&lt;/span&gt;he &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfe" data-page-no="e"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;13 &lt;/div&gt;
&lt;div&gt;property itself.â  &lt;span&gt;WRWC, LLC v. City of Arvada&lt;span&gt;, 107 P.3d 1002,&lt;span&gt;&lt;/span&gt; 1005 &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;(Colo. App. 2004); &lt;span&gt;see also Humphrey v. Sw. Dev. Co.&lt;/span&gt;, 734 P.2d 637, &lt;/div&gt;
&lt;div&gt;640 (Colo. 1987).   &lt;/div&gt;
&lt;div&gt;Â¶ 28&lt;span&gt; &lt;/span&gt;&lt;span&gt;To &lt;span&gt;convey water rights, âthe same formalities shall be obse&lt;span&gt;&lt;/span&gt;rved &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;and complied with as in the conveyance of real estate.â  Â§&lt;span&gt; &lt;span&gt;38&lt;/span&gt;&lt;span&gt;-&lt;span&gt;30&lt;span&gt;&lt;/span&gt;&lt;span&gt;-&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;102(2), C.R.S. 2024.  It has long been the law in Colorado t&lt;span&gt;&lt;/span&gt;hat &lt;/div&gt;
&lt;div&gt;water rights are determined by the express terms of t&lt;span&gt;&lt;/span&gt;he deed that &lt;/div&gt;
&lt;div&gt;purportedly transfers the rights.  &lt;span&gt;Wanamaker Ditch Co. v. Cra&lt;span&gt;&lt;/span&gt;ne&lt;span&gt;, &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;288 P.2d 339, 343 (Colo. 1955).   &lt;/div&gt;
&lt;div&gt;Â¶ 29&lt;span&gt; &lt;/span&gt;&lt;span&gt;The 2005 warranty deed conveying the 2110 property in joint &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;tenancy to Noren, Dain, and Norma had language that the &lt;/div&gt;
&lt;div&gt;conveyance included âall water, water rights, ditches and ditch &lt;/div&gt;
&lt;div&gt;rights appurtenant thereto.â  &lt;span&gt;But&lt;/span&gt;&lt;span&gt; the 2016 quitclaim dee&lt;span&gt;&lt;/span&gt;d that &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;conveyed the property from a joint tenancy between Norma an&lt;span&gt;&lt;/span&gt;d &lt;/div&gt;
&lt;div&gt;Dain to Dainâs sole possession did not include &lt;span&gt;that same language.  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;See Nielson&lt;span&gt;, 228 P.2d &lt;span&gt;at 458 (âThe land for which it was &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;appropriated or on which it has been used may be conveyed &lt;span&gt;&lt;/span&gt;or held &lt;/div&gt;
&lt;div&gt;without the water, and the water may be conveyed or held wit&lt;span&gt;&lt;/span&gt;hout &lt;/div&gt;
&lt;div&gt;the land, or any part of the land may be conveyed together with any &lt;/div&gt;
&lt;div&gt;part of the water right and the remainder be retained.â) (&lt;span&gt;&lt;/span&gt;citation &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pff" data-page-no="f"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;14 &lt;/div&gt;
&lt;div&gt;omitted).&lt;span&gt;  &lt;span&gt;Therefore, given the title history for the 2110 pro&lt;span&gt;&lt;/span&gt;perty, &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the district court did not err when it look&lt;span&gt;ed&lt;/span&gt; at the prior conveyanc&lt;span&gt;&lt;/span&gt;e &lt;/div&gt;
&lt;div&gt;documents and concluded that, if water rights were intende&lt;span&gt;&lt;/span&gt;d to be &lt;/div&gt;
&lt;div&gt;transferred, the 2016 quitclaim deed could have expressly said so.&lt;span&gt;  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;In other words, the 2005 warranty deed executed by Noren included &lt;/div&gt;
&lt;div&gt;the water rights, and therefore, the parties knew how to convey &lt;/div&gt;
&lt;div&gt;those rights but chose not to do so in the 2016 quitcl&lt;span&gt;&lt;/span&gt;aim deed.&lt;span&gt;  &lt;/span&gt;&lt;span&gt;See &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Fox v. 1-10, Ltd.&lt;span&gt;, 936 P.2d 580, &lt;span&gt;58&lt;/span&gt;&lt;span&gt;2-&lt;span&gt;83&lt;/span&gt;&lt;/span&gt; (Colo. App. 1998) (as part &lt;span&gt;&lt;/span&gt;of &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;a contract interpretation analysis, finding that parties knew how to &lt;/div&gt;
&lt;div&gt;exempt certain provisions of a partnership agreementâs &lt;span&gt;&lt;/span&gt;amendment &lt;/div&gt;
&lt;div&gt;procedures, while they intentionally âchose not toâ exempt &lt;span&gt;&lt;/span&gt;others)&lt;span&gt;, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;affâd&lt;span&gt;, 957 P.2d 1018 (Colo. 1998).&lt;span&gt;  &lt;/span&gt;Nonetheless, Dain contends, and &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;we agree, that in certain circumstances&lt;span&gt;, t&lt;/span&gt;ransfer of the property &lt;/div&gt;
&lt;div&gt;and the appurtenances can include transfer of the water rights.  &lt;/div&gt;
&lt;div&gt;Whether water rights are appurtenant to the land, howev&lt;span&gt;&lt;/span&gt;er, âis &lt;/div&gt;
&lt;div&gt;generally a question of fact, as is also whether on a sale or t&lt;span&gt;&lt;/span&gt;ransfer &lt;/div&gt;
&lt;div&gt;of the land, the water right passes as an appurtenance.â &lt;span&gt;&lt;/span&gt; &lt;span&gt;Travelers &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Ins. Co.&lt;span&gt;, 609 P.2d at 1118 (citing &lt;/span&gt;Denver Joint Stock La&lt;span&gt;&lt;/span&gt;nd Bank v. &lt;/div&gt;
&lt;div&gt;Markham&lt;span&gt;, 107 P.2d 313 (Colo. 1940)).  âWhere, in conveyanc&lt;span&gt;&lt;/span&gt;e of &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;land a part only of the appurtenant water right is described &lt;span&gt;&lt;/span&gt;and &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf10" data-page-no="10"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;15 &lt;/div&gt;
&lt;div&gt;specified as being conveyed therewith, such specific designation &lt;/div&gt;
&lt;div&gt;destroys any presumption of intention to convey the remainder.â  &lt;/div&gt;
&lt;div&gt;Nielson&lt;span&gt;, 228 P.2d at 458-&lt;span&gt;59&lt;/span&gt;. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 30&lt;span&gt; &lt;/span&gt;&lt;span&gt;In considering the testimony of all parties, the district court &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;determined that the transfer was intended to be temporary so Dain &lt;/div&gt;
&lt;div&gt;could obtain a loan and that the parties did not discuss the transfer &lt;/div&gt;
&lt;div&gt;of water rights.  Because of the short-term nature of the &lt;/div&gt;
&lt;div&gt;transaction, it was reasonable to infer that the parties had not &lt;/div&gt;
&lt;div&gt;discussed the water rights&lt;span&gt;.  &lt;/span&gt;This inference is supported &lt;span&gt;by Dainâs &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;affidavit stating that, at the time of the conveyance, &lt;span&gt;he â&lt;/span&gt;did not &lt;/div&gt;
&lt;div&gt;understand that ownership of water rights could be separate fr&lt;span&gt;&lt;/span&gt;om &lt;/div&gt;
&lt;div&gt;ownership of the &lt;span&gt;land.â  &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 31&lt;span&gt; &lt;/span&gt;&lt;span&gt;Nonetheless, Dain contends that he testified at trial that his &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;intent was to transfer the entirety of the 2110 property interest to &lt;/div&gt;
&lt;div&gt;his sole possession and then put Lynnâs name on the t&lt;span&gt;&lt;/span&gt;itle.  He says &lt;/div&gt;
&lt;div&gt;this makes sense because he &lt;span&gt;wa&lt;/span&gt;s estranged from his parents and &lt;/div&gt;
&lt;div&gt;because his sister has her own property from the trust so he sh&lt;span&gt;&lt;/span&gt;ould &lt;/div&gt;
&lt;div&gt;have one as well.  But Dain and Lynn did not certify transcripts &lt;/div&gt;
&lt;div&gt;from the bench trial on appeal, and therefore, we must presume &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf11" data-page-no="11"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt;16 &lt;/div&gt;
&lt;div&gt;that the court&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s &lt;/span&gt;judgment was correct.  &lt;span&gt;See People v. Duran&lt;/span&gt;, 2015 &lt;/div&gt;
&lt;div&gt;COA 141, Â¶ 21. &lt;/div&gt;
&lt;div&gt;Â¶ 32&lt;span&gt; &lt;/span&gt;&lt;span&gt;And regardless, the November 2022 order made credibility &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;determinations and weighed the conflicting evidence and testimony &lt;/div&gt;
&lt;div&gt;about the partiesâ intent surrounding the &lt;span&gt;2016 quitclaim deed.  &lt;span&gt;&lt;/span&gt;The &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;court reasoned that â&lt;span&gt;it is more likely than not that Dain was &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;intentionally vague about any promises or agreements he was &lt;/div&gt;
&lt;div&gt;making so that his mother would take her name off t&lt;span&gt;&lt;/span&gt;he Property &lt;/div&gt;
&lt;div&gt;and give the Property solely to him&lt;span&gt;.â  Credibility determinations are &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;within the sole province of the fact finder, and we may not reweigh &lt;/div&gt;
&lt;div&gt;the evidence or substitute our judgment for that of the district &lt;/div&gt;
&lt;div&gt;court.  &lt;span&gt;See&lt;/span&gt; &lt;span&gt;Target Corp. v. Prestige Maint. USA, Ltd.&lt;/span&gt;, 2013 COA &lt;span&gt;&lt;/span&gt;12, &lt;/div&gt;
&lt;div&gt;Â¶ &lt;span&gt;24&lt;/span&gt;&lt;span&gt;.  &lt;/span&gt;&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 33&lt;span&gt; &lt;/span&gt;&lt;span&gt;Dain and Lynn also contend that the water rights for the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Barrett Ditch and Barrett Pond were severed in 1986, which would &lt;/div&gt;
&lt;div&gt;mean that he own&lt;span&gt;ed&lt;/span&gt; the water rights to Barrett Pond.  Norma an&lt;span&gt;&lt;/span&gt;d &lt;/div&gt;
&lt;div&gt;Richard claim this argument is unpreserved.  But even if Dain and &lt;/div&gt;
&lt;div&gt;Lynn&lt;span&gt; made this argument in the summary judgment briefing, we do &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;not know how or if the argument was raised at trial because we lack &lt;/div&gt;
&lt;div&gt;a transcript.  &lt;span&gt;See&lt;/span&gt;&lt;span&gt; &lt;/span&gt;&lt;span&gt;Duran&lt;/span&gt;, Â¶ 21. &lt;span&gt;  &lt;/span&gt;  &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf12" data-page-no="12"&gt;
&lt;div&gt;
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&lt;div&gt;17 &lt;/div&gt;
&lt;div&gt;Â¶ 34&lt;span&gt; &lt;/span&gt;&lt;span&gt;Finally, Dain and Lynn contend that because the title history &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;transferring the water rights to his parents for the 210&lt;span&gt;&lt;/span&gt;8 property &lt;/div&gt;
&lt;div&gt;also contain&lt;span&gt;ed&lt;/span&gt; &lt;span&gt;a &lt;/span&gt;general reference to th&lt;span&gt;at landâs&lt;/span&gt; appurtenant rights&lt;span&gt;, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;th&lt;span&gt;e &lt;span&gt;general language in the 2016 quitclaim deed likewise &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;transferred the water rights associated with the 2110 property.&lt;span&gt;&lt;/span&gt;  As &lt;/div&gt;
&lt;div&gt;part of this argument, he and Lynn ask us to take judicial notic&lt;span&gt;&lt;/span&gt;e of &lt;/div&gt;
&lt;div&gt;three deeds, attached to their opening brief, relating to the &lt;span&gt;&lt;/span&gt;title &lt;/div&gt;
&lt;div&gt;histories for the 2108 and 2110 properties.   &lt;/div&gt;
&lt;div&gt;Â¶ 35&lt;span&gt; &lt;/span&gt;&lt;span&gt;These arguments were not raised below, and the documents &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;were not presented to the district court for its consideration.  &lt;/div&gt;
&lt;div&gt;Consequently, we decline to take judicial notice of documents, and &lt;/div&gt;
&lt;div&gt;we will not review this argument further&lt;span&gt;.  &lt;/span&gt;&lt;span&gt;See Laleh v. Johnson&lt;/span&gt;&lt;span&gt;, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;2016 COA 4, Â¶ 8, &lt;span&gt;aff&lt;span&gt;â&lt;/span&gt;&lt;span&gt;d on other grounds&lt;/span&gt;&lt;/span&gt;, 2017 CO 93.&lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;4&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;  &lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;&lt;div&gt;4&lt;/div&gt;&lt;/div&gt;
&lt;div&gt;
&lt;div&gt; Other arguments Dain and Lynn assert on appeal but did not &lt;/div&gt;
&lt;div&gt;raise below include the following: (1) Dain and Lynn own &lt;span&gt;&lt;/span&gt;the &lt;/div&gt;
&lt;div&gt;âimprovementsâ to &lt;span&gt;the Barrett Pond and Barrett Ditch locate&lt;span&gt;&lt;/span&gt;d on &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the 2110 property based on the improvements clause in t&lt;span&gt;&lt;/span&gt;he 2016 &lt;/div&gt;
&lt;div&gt;quitclaim deed, and (2&lt;span&gt;) &lt;/span&gt;the title history for the 2110 property did &lt;/div&gt;
&lt;div&gt;not always provide a detailed description of the water right&lt;span&gt;&lt;/span&gt;s being &lt;/div&gt;
&lt;div&gt;transferred&lt;span&gt;.  &lt;span&gt;Consequently, we will not address them.  &lt;span&gt;See Laleh v. &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Johnson&lt;span&gt;, 2016 COA 4, Â¶ 8, &lt;span&gt;aff'd on other grounds&lt;/span&gt;, 2017 CO 93. &lt;/span&gt;
&lt;/div&gt;
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&lt;div&gt;&lt;div&gt;
&lt;div&gt;18 &lt;/div&gt;
&lt;div&gt;2.&lt;span&gt; &lt;span&gt; &lt;/span&gt;Incidental and Necessary &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 36&lt;span&gt; &lt;/span&gt;&lt;span&gt;Dain and Lynn next contend that the water rights must have &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;been transferred to his sole ownership because those rights are &lt;/div&gt;
&lt;div&gt;incidental and necessary to the 2110 property.  They continue that &lt;/div&gt;
&lt;div&gt;the court made no findings about the incidental and beneficial &lt;span&gt;&lt;/span&gt;use &lt;/div&gt;
&lt;div&gt;of the water rights&lt;span&gt;, &lt;/span&gt;necessitating that we remand to the district &lt;/div&gt;
&lt;div&gt;court.&lt;span&gt;  &lt;span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 37&lt;span&gt; &lt;/span&gt;&lt;span&gt;For support &lt;span&gt;of&lt;/span&gt; Dain and Lynn&lt;span&gt;âs &lt;/span&gt;incidental and necessary &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;arguments, they rely &lt;span&gt;on&lt;/span&gt; a number of cases, includin&lt;span&gt;&lt;/span&gt;g &lt;span&gt;Kinoshita v. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;N. Denver Bank&lt;span&gt;, 508 P.2d 1264 (Colo. 1973); &lt;/span&gt;James v. Barker&lt;span&gt;, 64 &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;P.2d 598 (Colo. 1937); &lt;span&gt;Hastings &amp;amp; Heyden Realty Co. v. Gest&lt;/span&gt;, 201 P. &lt;/div&gt;
&lt;div&gt;37 (Colo. 1921); &lt;span&gt;Shigo, LLC v. Hocker&lt;/span&gt;&lt;span&gt;, &lt;/span&gt;2014 COA 16. &lt;/div&gt;
&lt;div&gt;Â¶ 38&lt;span&gt; &lt;/span&gt;&lt;span&gt;These cases generally hold that water rights may be &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;appurtenant to the land (incidental) and&lt;span&gt;, &lt;/span&gt;thus, transferr&lt;span&gt;ed&lt;/span&gt; absent &lt;/div&gt;
&lt;div&gt;any specific language in the deed &lt;/div&gt;
&lt;div&gt;â¢&lt;span&gt; &lt;span&gt;when a court determin&lt;span&gt;es&lt;/span&gt; &lt;span&gt;the intent of the parties â&lt;/span&gt;from all the &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;circumstances of the case, including the fact as to the use of &lt;/div&gt;
&lt;div&gt;the water and whether it is necessary and essential to the &lt;/div&gt;
&lt;div&gt;beneficial use and enjoyment of the land&lt;span&gt;,â &lt;span&gt;Kinoshita&lt;/span&gt;&lt;/span&gt;, 508 P.2&lt;span&gt;&lt;/span&gt;d &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;div&gt;&lt;div&gt;
&lt;div&gt;19 &lt;/div&gt;
&lt;div&gt;at 1267 (quoting &lt;span&gt;Hastings &amp;amp; Heyden Realty Co.&lt;/span&gt;, 201 P. at 39)&lt;span&gt;; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;see also Shigo, LLC&lt;span&gt;, &lt;span&gt;Â¶ &lt;span&gt;13&lt;/span&gt;; &lt;span&gt;or&lt;/span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;â¢&lt;span&gt; &lt;span&gt;âif the presumptions arising from the circumstances of &lt;span&gt;&lt;/span&gt;the &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;transaction make it appear that it was the intention of the &lt;/div&gt;
&lt;div&gt;grantor that [the rights] should so pass&lt;span&gt;,â&lt;/span&gt; &lt;span&gt;James&lt;/span&gt;, 64 P.2d at &lt;/div&gt;
&lt;div&gt;600; &lt;span&gt;see also&lt;/span&gt; &lt;span&gt;Hastings&lt;/span&gt;, 201 P. at &lt;span&gt;39&lt;/span&gt;. &lt;/div&gt;
&lt;div&gt;Given the case law, the district court primarily focused on &lt;/div&gt;
&lt;div&gt;Normaâs intent&lt;span&gt;, as she was the grantor of the 2016 quitclaim deed&lt;span&gt;.  &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;We have previously discussed that Norma considered the &lt;/div&gt;
&lt;div&gt;transaction to be a short-term deal and that the water rights were &lt;/div&gt;
&lt;div&gt;never discussed.&lt;span&gt;  &lt;/span&gt;Again, without the benefit of a transcript, we &lt;/div&gt;
&lt;div&gt;must presume the record supports the &lt;span&gt;district courtâs findings.  &lt;span&gt;See &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Duran&lt;span&gt;, &lt;span&gt;Â¶ &lt;span&gt;21&lt;/span&gt;. &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 39&lt;span&gt; &lt;/span&gt;&lt;span&gt;As to whether the water rights are necessary for the beneficial &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;use and enjoyment of the 2110 property&lt;span&gt;, &lt;/span&gt;Dain stated in his affidavit &lt;/div&gt;
&lt;div&gt;that he used Barrett Pond to water his lawn, bushes, and shr&lt;span&gt;&lt;/span&gt;ubs &lt;/div&gt;
&lt;div&gt;via an automatic sprinkler and that this is necessary because of &lt;span&gt;&lt;/span&gt;the &lt;/div&gt;
&lt;div&gt;arid climate where the 2110 property is located&lt;span&gt;.  &lt;/span&gt;Dain also stated &lt;/div&gt;
&lt;div&gt;that he, Lynn, and their kids used Barrett Pond for recreation an&lt;span&gt;&lt;/span&gt;d &lt;/div&gt;
&lt;div&gt;swimming.&lt;span&gt;  &lt;span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;div&gt;&lt;div&gt;
&lt;div&gt;20 &lt;/div&gt;
&lt;div&gt;Â¶ 40&lt;span&gt; &lt;/span&gt;&lt;span&gt;But&lt;span&gt; the cases they cite all involve agricultural or irrigation &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;uses of the land, not recreational uses&lt;span&gt;.  &lt;/span&gt;&lt;span&gt;See Kinoshita&lt;/span&gt;, 508 P.2d at &lt;/div&gt;
&lt;div&gt;1265 (the owner conveyed farmland); &lt;span&gt;Shigo, LLC&lt;/span&gt;, Â¶Â¶ 3-6 (same); &lt;/div&gt;
&lt;div&gt;Hastings&lt;span&gt;, 201 P. at 40 (âIt is also well established that &lt;span&gt;&lt;/span&gt;without &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;water the land would be practically worthless for agricultu&lt;span&gt;&lt;/span&gt;ral &lt;/div&gt;
&lt;div&gt;purposes, and would have a value of only one-tenth the amount &lt;/div&gt;
&lt;div&gt;paid to obtain its release.  This fact is important as indicating&lt;span&gt;&lt;/span&gt; the &lt;/div&gt;
&lt;div&gt;int&lt;span&gt;ention to convey the water with the land . . . .â); &lt;span&gt;James&lt;/span&gt;&lt;span&gt;, 64 P.2d &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;at 600 (water was used for land irrigation).  And we cannot find, &lt;span&gt;&lt;/span&gt;nor &lt;/div&gt;
&lt;div&gt;have the parties cited, authority holding that water rights used for &lt;/div&gt;
&lt;div&gt;landscaping and recreation are necessary and incidental &lt;/div&gt;
&lt;div&gt;appurtenances to the land so that, absent specific mention of t&lt;span&gt;&lt;/span&gt;he &lt;/div&gt;
&lt;div&gt;water rights in a deed, they nonetheless transfer with &lt;span&gt;&lt;/span&gt;the land. &lt;/div&gt;
&lt;div&gt;Â¶ 41&lt;span&gt; &lt;span&gt;And Dain and Lynnâs argument that Lynn &lt;span&gt;and Norma cannot &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;use the well is not at issue in this case.  As Dain and Lynn pointe&lt;span&gt;&lt;/span&gt;d &lt;/div&gt;
&lt;div&gt;out, adjudication of water usage are issues exclusively &lt;span&gt;&lt;/span&gt;determined &lt;/div&gt;
&lt;div&gt;by a water court.  Here, we are dealing with ownership of the &lt;span&gt;&lt;/span&gt;water &lt;/div&gt;
&lt;div&gt;rights.  &lt;span&gt;See Allen v. State&lt;/span&gt;, 2019 CO 6, Â¶ 1&lt;span&gt;.  &lt;/span&gt;And because the well is &lt;/div&gt;
&lt;div&gt;for domestic use only, Dain and Lynn could not use t&lt;span&gt;&lt;/span&gt;he well for &lt;/div&gt;
&lt;div&gt;agricultural purposes. &lt;/div&gt;
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&lt;div&gt;&lt;div&gt;
&lt;div&gt;21 &lt;/div&gt;
&lt;div&gt;Â¶ 42&lt;span&gt; &lt;/span&gt;&lt;span&gt;Accordingly, we conclude that the water rights are not &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;incidental and necessary to Dain and Lynnâs beneficial use and &lt;/div&gt;
&lt;div&gt;enjoyment of the land. &lt;/div&gt;
&lt;div&gt;3.&lt;span&gt; &lt;span&gt;Infringement of Rights &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 43&lt;span&gt; &lt;span&gt;Dain and Lynnâs final contention is that the water decree &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;infringes on &lt;span&gt;Lynnâs rights&lt;/span&gt; &lt;span&gt;as&lt;/span&gt; a joint owner of the 2110 prope&lt;span&gt;&lt;/span&gt;rty.  &lt;/div&gt;
&lt;div&gt;Norma and Richard contend that this argument was not made &lt;/div&gt;
&lt;div&gt;below and is therefore unpreserved.  &lt;span&gt;Even assuming Lynnâs âuseâ &lt;span&gt;&lt;/span&gt;of &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the water in Barrett Pond and Barrett Ditch &lt;span&gt;is&lt;/span&gt; &lt;span&gt;a ârightâ&lt;/span&gt; attached to &lt;/div&gt;
&lt;div&gt;her property ownership, we cannot find &lt;span&gt;an&lt;/span&gt;y argument to that&lt;span&gt;&lt;/span&gt; effect &lt;/div&gt;
&lt;div&gt;made below, and again, the transcripts were not provided for o&lt;span&gt;&lt;/span&gt;ur &lt;/div&gt;
&lt;div&gt;review.  Therefore, we conclude that this argument was not raised &lt;/div&gt;
&lt;div&gt;below, and we will not address &lt;span&gt;it&lt;/span&gt; further&lt;span&gt;.  &lt;/span&gt;&lt;span&gt;See Laleh&lt;/span&gt;&lt;span&gt;,&lt;/span&gt;&lt;span&gt; &lt;/span&gt;Â¶ 8. &lt;/div&gt;
&lt;div&gt;V.&lt;span&gt; &lt;span&gt;Conclusion &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 44&lt;span&gt; &lt;/span&gt;&lt;span&gt;The judgment is affirmed. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;JUDGE FOX and JUDGE SCHOCK concur. &lt;/div&gt;
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